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Eric Ewing vs Carnival Corporation
AMANDA LOHR

 ·1· · · · · · · · UNITED STATES DISTRICT COURT
 ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA
 ·3· · · · · · · · · · · ·MIAMI DIVISION
 ·4· · · · · · · · · · · * * * * * * * *
 ·5· ·ERIC EWING,· · · · · · · ·*
 ·6· · · ·Plaintiff· · · · · · ·*· Case No.
 ·7· · · ·vs.· · · · · · · · · ·*· 19-cv-20264-CIV-GOODMAN
 ·8· ·CARNIVAL CORPORATION,· · ·*
 ·9· · · ·Defendant· · · · · · ·*
 10· · · · · · · · · · · * * * * * * * *
 11
 12· · · · · · · · · VIDEOTAPED DEPOSITION OF
 13· · · · · · · · · · · · AMANDA LOHR
 14· · · · · · · · · · · October 2, 2019
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 ·1                                                                 ·1· · · · · · · · · · · · ·I N D E X
 ·2· · · · · · · · · ·VIDEOTAPED DEPOSITION                         ·2
 ·3· · · · · · · · · · · · · · ·OF                                  ·3· ·DISCUSSION AMONG PARTIES· · · · · · · · · · · · 7 - 8
 ·4· ·AMANDA LOHR, taken on behalf of the Plaintiff herein,         ·4· ·WITNESS: AMANDA LOHR
 ·5· ·pursuant to the Rules of Civil Procedure, taken before        ·5· ·EXAMINATION
 ·6· ·me, the undersigned, Michael G. Sargent, CVR, a Court         ·6· · · By Attorney Brais· · · · · · · · · · · · · ·8 - 30
 ·7· ·Reporter and Notary Public in and for the Commonwealth        ·7· ·EXAMINATION
 ·8· ·of Pennsylvania, Sargent’s Court Reporting Service,           ·8· · · By Attorney Scarry· · · · · · · · · · · · ·30 - 59
 ·9· ·Inc., 210 Main Street, Johnstown, Pennsylvania, on
                                                                    ·9· ·CERTIFICATE· · · · · · · · · · · · · · · · · · · · 60
 10· ·Wednesday, October 2, 2019, beginning at 1:33 p.m.
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 ·1· · · · · · · · · ·A P P E A R A N C E S                         ·1· · · · · · · · · · · · EXHIBIT PAGE
 ·2                                                                 ·2
 ·3· ·KEITH S. BRAIS, ESQUIRE                                       ·3· · · · · · · · · · · · · · · · · · · · · · · PAGE
 ·4· ·Brais Law Firm                                                ·4· ·NUMBER· · · DESCRIPTION· · · · · · · · ·IDENTIFIED
 ·5· ·Dadeland Towers                                               ·5· · · · · · · · · · · · NONE OFFERED
 ·6· ·9300 South Dadeland Boulevard, Suite 101                      ·6
 ·7· ·Miami, FL· 33156                                              ·7
 ·8· · · ·COUNSEL FOR PLAINTIFF                                     ·8
 ·9                                                                 ·9
 10· ·BRIAN T. SCARRY, ESQUIRE                                      10
 11· ·Horr, Novak and Skipp, PC                                     11
 12· ·Two Datran Center, Suite 1700                                 12
 13· ·9130 South Dadeland Boulevard                                 13
 14· ·Miami, FL· 33156                                              14
 15· · · ·COUNSEL FOR DEFENDANT                                     15
 16· · · ·(via telephone)                                           16
 17                                                                 17
 18                                                                 18
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 ·1· · · · · · · · · · · ·OBJECTION PAGE                          ·1· ·Keith Brais, on behalf of the Plaintiff,
 ·2                                                               ·2· ·Eric Ewing.
 ·3· ·ATTORNEY· · · · · · · · · · · · · · · · · · PAGE            ·3· ·ATTORNEY SCARRY:
 ·4· ·Scarry· · · · · · · · · · · · · · · · · · 14, 27            ·4· ·Good afternoon.
 ·5· ·Brais· · · · · · · · · · ·38, 41, 44, 45, 50, 56            ·5· ·This is Brian Scarry of Horr, Novak and
 ·6                                                               ·6· ·Skipp, on behalf of Defendant, Carnival Corporation.
 ·7                                                               ·7· ·VIDEOGRAPHER:
 ·8                                                               ·8· ·At this time the court reporter may now
 ·9                                                               ·9· ·swear in the witness.
 10                                                               10· ·COURT REPORTER:
 11                                                               11· ·Okay.
 12                                                               12· ·Amanda, can you raise your right hand,
 13                                                               13· ·please?
 14                                                               14· · · · · · · · · · · · · · ---
 15                                                               15· · · · · · · · · · · · AMANDA LOHR,
 16                                                               16· ·CALLED AS A WITNESS IN THE FOLLOWING PROCEEDING, AND
 17                                                               17· ·HAVING FIRST BEEN DULY SWORN, TESTIFIED AND SAID AS
 18                                                               18· ·FOLLOWS:
 19                                                               19· · · · · · · · · · · · · · ---
 20                                                               20· · · · · · · · · · · · EXAMINATION
 21                                                               21· · · · · · · · · · · · · · ---
 22                                                               22· ·BY ATTORNEY BRAIS:
 23                                                               23· ·Q.Could you please state your full name?
 24                                                               24· ·A.Amanda Renee Lohr.
 25                                                               25· ·Q.And are you married or not married?

                                                         Page 7                                                               Page 9
 ·1· · · · · · · · · ·S T I P U L A T I O N                       ·1· ·A.Married.
 ·2· ·------------------------------------------------------      ·2· ·Q.Would you prefer Mrs. Lohr?
 ·3· ·(It is hereby stipulated and agreed by and between          ·3· ·A.Yes.
 ·4· ·counsel for the respective parties that reading,            ·4· ·Q.Okay.
 ·5· ·signing, sealing, certification and filing are              ·5· ·We’re here to take --- today to take your
 ·6· ·waived.)                                                    ·6· ·deposition.· Have you ever had a deposition taken
 ·7· ·------------------------------------------------------      ·7· ·before?
 ·8· · · · · · · · · ·P R O C E E D I N G S                       ·8· ·A.No.
 ·9· ·------------------------------------------------------      ·9· ·Q.Okay.
 10· ·VIDEOGRAPHER:                                               10· ·Some of the things that help a deposition go
 11· ·We are now on the record.                                   11· ·smoothly are --- the number one rule is you’ve been
 12· ·My name is Nicholas Clark.· I am a                          12· ·sworn to tell the truth.· You obviously need to follow
 13· ·videographer present on behalf of Orange Legal              13· ·that.
 14· ·Reporting.                                                  14· ·Second rule is make sure you understand the
 15· ·The date today is October 2nd, 2019.· The                   15· ·question that’s asked.· If you don’t, let either myself
 16· ·current time on the video monitor is 1:33 p.m.· This        16· ·or Mr. Scarry know and we’ll try to repeat the question
 17· ·deposition is being taken at 210 Main Street,               17· ·in a way where you can understand.
 18· ·Johnstown, Pennsylvania, 15901.                             18· ·Try to answer just the question, because the
 19· ·In the United States District Court for                     19· ·attorney can ask all the follow-ups in the world and he
 20· ·the Southern District of Florida, Miami Division, Eric      20· ·can get the other information.
 21· ·Ewing versus Carnival Corporation.                          21· ·If you need to take a break at any time, please
 22· ·The name of the witness is Amanda Lohr.                     22· ·let us know.
 23· ·Will the attorneys present state their                      23· ·If you think about something later and something
 24· ·names and the parties they represent?                       24· ·that we say or do jogs your memory and you want to add
 25· ·ATTORNEY BRAIS:                                             25· ·to that, would you let us know ---

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 ·1· ·A.Yes.                                                   ·1· ·A.He said that he was in his room and he was sitting
 ·2· ·Q.--- perhaps to an answer you gave earlier?             ·2· ·on the edge of the bed, and that the bunkbed that was
 ·3· ·A.Yes.                                                   ·3· ·above him fell and hit him.· And he was having some
 ·4· ·Q.You cannot --- well, you can nod yes or no, but        ·4· ·after-effects from it.
 ·5· ·you have to speak your answer aloud.                     ·5· ·Q.Did he ever say where it hit him?
 ·6· ·A.Okay.                                                  ·6· ·A.To the best of my memory, on the right side of his
 ·7· ·Q.Okay.· All right.                                      ·7· ·head.
 ·8· ·Mrs. Lohr, where do you live?                            ·8· ·Q.Okay.
 ·9· ·A.In St. Michael, Pennsylvania.                          ·9· ·Have you seen a change in your father since the
 10· ·Q.And you live there with your husband?                  10· ·shipboard event, as we’ll call it?
 11· ·A.Yes.                                                   11· ·A.Yes.
 12· ·Q.Do you have children?                                  12· ·Q.Are there things that your dad used to enjoy
 13· ·A.No.                                                    13· ·doing ---
 14· ·Q.Do you --- do you know --- we’re here to talk          14· ·A.Yes.
 15· ·about a lawsuit involving Eric Ewing versus Carnival     15· ·Q.--- that he doesn’t really do anymore?
 16· ·--- Carnival Corporation, I think.                       16· ·A.Yes.
 17· ·Do you know Mr. Eric Ewing?                              17· ·Q.Could you walk us through some of the things that
 18· ·A.Yes.                                                   18· ·your dad used to enjoy doing before the shipboard event
 19· ·Q.Who is he in this world to you?                        19· ·and whether he still does those things or not now?
 20· ·A.My father.                                             20· ·A.Yes.· Before the event, he loved to cruise.· They
 21· ·Q.Okay.                                                  21· ·went on many cruises a year.· Since that accident, he’s
 22· ·Where are we today?· What city and state?                22· ·not been on one, and he missed a few cruises that he
 23· ·A.Johnstown, Pennsylvania.                               23· ·was scheduled to be on.
 24· ·Q.In a court reporter’s office?                          24· ·We used to go down to Florida, where my aunt
 25· ·A.Correct.· On Main Street.                              25· ·lives.· We would either drive or fly down.· And we have
                                                     Page 11                                                        Page 13
 ·1· ·Q.And it looks to me like it’s October 2nd, 2019.        ·1· ·not --- I have not been down there with him nor has he
 ·2· ·Correct?                                                 ·2· ·been down since.
 ·3· ·A.Yes.                                                   ·3· ·He would --- he loved to travel.· We’ve gone out
 ·4· ·Q.All right.                                             ·4· ·to California to see my Uncle Greg, which is his
 ·5· ·The lawsuit has a good deal to do with a cruise          ·5· ·brother.· We haven’t done that again.
 ·6· ·that your dad was on, on the Carnival Ecstasy, back on   ·6· ·He used to love to watch the Steelers.· He’s very
 ·7· ·--- in or about January 21st through January 28th of     ·7· ·passionate about the Steelers.· He had a Terrible Towel
 ·8· ·2018.· My question is simple.                            ·8· ·hanging up that wasn’t allowed to move.
 ·9· ·Were you on that cruise?                                 ·9· ·Q.So I have to ask you, stop you there for a bit.
 10· ·A.No.                                                    10· ·What’s a Terrible Towel?
 11· ·Q.Okay.                                                  11· ·A.In ---.
 12· ·Following that cruise, did your dad come home?           12· ·Q.Obviously, I’m not a Steelers ---
 13· ·A.Yes.                                                   13· ·A.I understand.
 14· ·Q.Okay.                                                  14· ·Q.--- Pittsburgh fan.
 15· ·Did you make any observations about your dad when        15· ·A.The Steelers have like a Terrible Towel.· It’s a
 16· ·he came home that to your viewpoint perhaps were a       16· ·yellow towel that is very iconic to the Steelers.· It’s
 17· ·little odd or different about him?                       17· ·like a towel that says the Terrible Towel with Steelers
 18· ·A.Yes.                                                   18· ·on it.
 19· ·Q.Okay.                                                  19· ·Q.And what would your dad --- well, before this
 20· ·Did you ever learn what had happened to your dad         20· ·incident, how would that --- what would he do with that
 21· ·on the ship or what he had ever said about what          21· ·towel?
 22· ·happened?                                                22· ·A.He would put it somewhere and it wasn’t allowed to
 23· ·A.Yes.                                                   23· ·move because he said we are going to jinx the team.
 24· ·Q.What did he tell you happened?                         24· ·Q.He would hang it in the home?
 25· ·I apologize for this cough.                              25· ·A.Yeah.· He would hang it up on the wall.

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 ·1· ·Q.Has that ever brought the Steelers any luck?           ·1· ·runs.· And they do it every month.
 ·2· ·A.I would like to say so.                                ·2· ·Q.When you say here, I want to take it a little
 ·3· ·Q.But not so.· Huh?                                      ·3· ·slower.
 ·4· ·A.Well, this year they’re not doing real good.           ·4· ·A.Okay.
 ·5· ·Q.Okay.· All right.                                      ·5· ·Q.When you say here, are you talking about in
 ·6· ·So I’m sorry to interrupt, ---                           ·6· ·Johnstown, Pennsylvania?
 ·7· ·A.Okay.                                                  ·7· ·A.In Johnstown or where I live in St. Michael.
 ·8· ·Q.--- but I had to find out what that was all about.     ·8· ·Q.Okay.
 ·9· ·A.That’s okay.· That’s okay.                             ·9· ·So what is this food auction?· What is it?
 10· ·Q.Are there other things that your dad used to enjoy     10· ·A.I don’t know how the guy gets the stuff, but he
 11· ·doing that he doesn’t really ---?                        11· ·auctions off food for your house at less price than
 12· ·A.Yeah.· We used to go to the Steelers training camp     12· ·they do like --- have food that they sell that you can
 13· ·together.· He hasn’t done that since the accident.       13· ·eat.· And he would go with my uncle and my aunt.
 14· ·Q.Now, are the Steelers training camp --- let’s see.     14· ·Q.And was that something that he frequented?
 15· ·Football season’s in the fall, so would that be about    15· ·A.Yes.
 16· ·August of every year?                                    16· ·Q.On average, and, again, before this incident, how
 17· ·A.Yeah.· End of July, beginning of August, I would       17· ·often would he go to that?
 18· ·say.                                                     18· ·Well, first of all, how often would it be
 19· ·Q.So the first time that would have occurred after       19· ·attended?
 20· ·January of 2018 incident would have been about August    20· ·A.It was every month.· And he typically went every
 21· ·of 2018?                                                 21· ·month.
 22· ·A.Correct.                                               22· ·Q.Okay.
 23· ·ATTORNEY SCARRY:                                         23· ·And he’d been doing that for how long before this
 24· ·Object to form.                                          24· ·shipboard event?
 25· ·ATTORNEY BRAIS:                                          25· ·A.I mean, off and on, like as long as I can
                                                     Page 15                                                         Page 17
 ·1· ·Identifying when the Steelers camp would                 ·1· ·remember.· He used to go to them when we were kids.
 ·2· ·start?                                                   ·2· ·Q.Okay.
 ·3· ·ATTORNEY SCARRY:                                         ·3· ·Did you ever have a conversation with your dad
 ·4· ·Leading.                                                 ·4· ·about why he no longer attended the food auction?
 ·5· ·ATTORNEY BRAIS:                                          ·5· ·A.He still goes occasionally.· I haven’t had a
 ·6· ·Oh, okay.                                                ·6· ·specific conversation with him, like, why don’t you go?
 ·7· ·BY ATTORNEY BRAIS:                                       ·7· ·But when I call him to go pick him up or say do you
 ·8· ·Q.When in the 2018 year time frame did the Steelers      ·8· ·want to go, he’ll typically say that he’s too sick or
 ·9· ·camp typically start up?                                 ·9· ·he’s too dizzy that day, and he doesn’t want to go out.
 10· ·A.End of July, beginning of August.                      10· ·Q.Okay.
 11· ·Q.Okay.                                                  11· ·I’m sorry for the interruption.· Is there anything
 12· ·And did your dad attend the Steelers camp, like he       12· ·else?
 13· ·customarily had done so, ---                             13· ·ATTORNEY SCARRY:
 14· ·A.No.                                                    14· ·Ms. Lohr, did you say busy with a B or
 15· ·Q.--- in July or August of 2018?                         15· ·dizzy with a D?
 16· ·A.No.                                                    16· ·THE WITNESS:
 17· ·Q.Did you ever have a conversation with your dad         17· ·D as in dog.· Dizzy.
 18· ·about why he didn’t go?                                  18· ·ATTORNEY SCARRY:
 19· ·A.No.· I just asked him if he wanted to go and he        19· ·Thank you.
 20· ·said he didn’t feel up to it.                            20· ·THE WITNESS:
 21· ·Q.Okay.                                                  21· ·You’re welcome.
 22· ·Are there any other things that he customarily did       22· ·BY ATTORNEY BRAIS:
 23· ·that ---?                                                23· ·Q.I’m sorry to interrupt.
 24· ·A.Yeah.· He used to --- there is a thing local to        24· ·What was --- are there any other things that your
 25· ·here called a food auction that a guy named Irish Mike   25· ·dad customarily enjoyed doing before this incident and

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 ·1· ·either doesn’t do now or doesn’t do as often?             ·1· ·Q.Okay.
 ·2· ·A.Yes.· He liked to go fishing.· Specifically, if we      ·2· ·Was it important to your dad to take care of his
 ·3· ·were on a cruise, he would book an excursion with him     ·3· ·mother, your grandmother?
 ·4· ·and my brother, and they would go fishing for the         ·4· ·A.Extremely important.
 ·5· ·afternoon.                                                ·5· ·Q.How do you know that?
 ·6· ·When we went to Florida, he would go out into the         ·6· ·A.Because we left --- well, first of all, we left
 ·7· ·Gulf usually with my brother.· And they would do ---      ·7· ·where we lived and moved in with her.· And you know, he
 ·8· ·they would go out for the whole day and fish for          ·8· ·took care of her for 20 years.· And he said when she
 ·9· ·Grouper.· And since the accident, he’s done neither.      ·9· ·went in for the physical therapy, that he was bringing
 10· ·And he hasn’t gone fishing local either.                  10· ·her home, that he wasn’t going to leave her there,
 11· ·Q.Okay.                                                   11· ·because he promised his dad that she would never go
 12· ·Now, have there --- there’s a sheet of paper in           12· ·into a nursing home and that he would take care of her.
 13· ·front of you that you’re kind of referring to.            13· ·Q.And do you know how your --- has your dad been
 14· ·What is that?                                             14· ·able to do what he used to do ---?
 15· ·A.I wrote a list after my meeting with Mr. Brais          15· ·Are you okay?
 16· ·yesterday.                                                16· ·A.Yeah.· I’m sorry.
 17· ·Q.Me?                                                     17· ·No.· And this is like a really ---.
 18· ·A.Yes.· Because I was afraid I was going to forget        18· ·Q.You got to let me get it out.
 19· ·something.· And I know that this is important.· And I     19· ·Has your dad been able to do the things for your
 20· ·wrote a list.· And when I came in today, he said it was   20· ·grandmother that he used to do for her during that ---
 21· ·okay if I used it.                                        21· ·you know, the years leading up to this incident?
 22· ·Q.Okay.                                                   22· ·A.No.
 23· ·All right.· So are there other things that your           23· ·And now she is permanently in the nursing home.
 24· ·dad used to enjoy doing that he doesn’t --- either        24· ·But she tells us every time you talk to her how much
 25· ·can’t do or doesn’t do as much now?                       25· ·she hates it there and she wants to come home.
                                                      Page 19                                                        Page 21
 ·1· ·A.Yeah.· A lot of it was with my grandma.· He would       ·1· ·Q.Do you know if that’s --- has your dad ever said
 ·2· ·take her shopping, like sometimes like two times a        ·2· ·that’s upsetting him?
 ·3· ·week.· He would take her to the Galleria, which is a      ·3· ·A.Yes.· He said it’s devastating and that he wants
 ·4· ·local mall here, or Walmart or the grocery store, just    ·4· ·to bring her home.
 ·5· ·to get her out and take her shopping.· He’d buy her       ·5· ·Q.Has he ever told you why or do you know why he’s
 ·6· ·whatever she needed.                                      ·6· ·not been able to do the kinds of things he used to do
 ·7· ·And since the accident, in terms of taking her            ·7· ·for his mother?
 ·8· ·shopping, not really.· I would say maybe once or twice.   ·8· ·A.Yes.· He said that he can hardly take care of
 ·9· ·And typically that’s because of they were just already    ·9· ·himself, and that there’s no way that he can take of
 10· ·out.                                                      10· ·her anymore.· That if something were to happen, he
 11· ·Q.Okay.                                                   11· ·wouldn’t be able to help her.
 12· ·Anything else?                                            12· ·And a lot of the day-to-day activities that he was
 13· ·A.He used to cook every day for my grandma.· She          13· ·doing for her, a lot of them me or my brother are doing
 14· ·went into a nursing home that was supposed to be for      14· ·for him now.
 15· ·rehabilitation about a month before the accident.· And    15· ·Q.Okay.
 16· ·even when she went into the LaurelWood, which is the      16· ·So we left off, I think, cooking every day and
 17· ·name of the facility she’s at, he still continued to      17· ·even leading up to the cruise.
 18· ·cook for her and he would put it in like takeout          18· ·Do you recall or did you write anything else down
 19· ·containers and take it up to her.                         19· ·about ---
 20· ·Q.When you say he’d still cook for her, that’s ---        20· ·A.Yes.
 21· ·I’m trying to understand the time frame.· Was that        21· ·Q.--- the things that he --- let me get it out.
 22· ·between when she was placed into the nursing home and     22· ·A.I’m sorry.
 23· ·right up until the January cruise that we’re talking      23· ·Q.The things he used to do that he either can’t do
 24· ·about here today?                                         24· ·now or has limitations with?
 25· ·A.Correct.                                                25· ·A.Yes.· He would take my grandma to lunch sometimes

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 ·1· ·three or four times a week.· Either I would meet them     ·1· ·A.He would can them with my grandma.· And he would
 ·2· ·or my aunt and uncle would meet them.· He would take      ·2· ·make different things, like salsa.· He would make her
 ·3· ·her out for --- like at lunchtime.                        ·3· ·like a special like V-8 type tomato juice for her that
 ·4· ·And now if one of us picks him up and brings him          ·4· ·she liked, spaghetti sauce.
 ·5· ·with us, sometimes they go every --- every other week,    ·5· ·And then he gave a lot --- because the garden was
 ·6· ·sometimes every three weeks.· And that’s usually on       ·6· ·huge.· He gave a lot of the extra to like the
 ·7· ·Sundays.                                                  ·7· ·neighbors, the lady that came to do my gram’s hair, us,
 ·8· ·Q.So I just want to clear it up.                          ·8· ·whoever.
 ·9· ·The occasions that your dad does go now, is               ·9· ·Q.So after your brother, Eric --- your uncle may
 10· ·someone driving him to go see his mother?                 10· ·have said Ricky.· I don’t remember quite.· After he was
 11· ·A.Yes.                                                    11· ·no longer able to help your dad with the garden, so
 12· ·Q.Is he --- does his brother or his sister-in-law,        12· ·what happened to it?
 13· ·meaning Robert or Sharon, do they ever get together now   13· ·A.He just let it go.· He didn’t take --- I don’t ---
 14· ·or have they for some time now to go visit your           14· ·to the best of my knowledge, I don’t think he really
 15· ·grandmother?                                              15· ·took care of it.· I think he just --- it basically just
 16· ·A.No.                                                     16· ·died.
 17· ·Q.Okay.                                                   17· ·Q.In or about this time frame of August, September
 18· ·We left off at lunch, taking grandmom to lunch.           18· ·of 2018, had you ever been over to the house and looked
 19· ·Is there anything else?                                   19· ·over the garden to see whether it was thriving or not?
 20· ·A.Yeah.· He used to play like video gaming.· I could      20· ·A.In ---?· I’m sorry.· Could you repeat the dates
 21· ·not tell you if it was like an X-Box or PlayStation. I    21· ·again?
 22· ·don’t know.· But he used to play online with my brother   22· ·Q.Sure.
 23· ·or by himself.                                            23· ·After your brother was no longer able to help your
 24· ·Q.And do you know if he continues to do that?             24· ·dad with the garden, had you ever visited the house at
 25· ·A.No.· I don’t think he really does anymore.              25· ·any time after that to see what the state of his garden
                                                      Page 23                                                        Page 25
 ·1· ·Q.What makes you say that?                                ·1· ·was?· I mean, was it still being cared for or not?
 ·2· ·A.Because he has said that the flashing lights and        ·2· ·A.Yes, I did.· And no, it wasn’t being cared for.
 ·3· ·like the quick images on the games can like trigger his   ·3· ·Like, the weeds started growing up.· And there was a
 ·4· ·dizziness or headaches.· And he says it’s not as          ·4· ·lot of like rotting vegetables on the plants that ---
 ·5· ·enjoyable anymore because like his hand-eye               ·5· ·because they weren’t picked, they started to die.
 ·6· ·coordination has been impacted, so there’s like a         ·6· ·Q.So we were talking about the garden and the
 ·7· ·delay.· And he says it’s not fun to play anymore.         ·7· ·canning.
 ·8· ·Q.What else?· Anything else?                              ·8· ·What --- are there any other activities that your
 ·9· ·A.He used to be a very avid gardener.· And after the      ·9· ·dad either can’t do anymore or is limited in doing?
 10· ·accident in 2018, my brother did the garden, to the       10· ·A.Driving is a huge one.
 11· ·best of my knowledge, mostly for him.· And then my        11· ·Q.Now, do you know ---?
 12· ·brother got a job and he stopped being able to take       12· ·ATTORNEY SCARRY:
 13· ·care of it.· And so ---.                                  13· ·I didn’t hear your answer.
 14· ·Q.He being your dad or your brother?                      14· ·THE WITNESS:
 15· ·A.My brother.                                             15· ·Driving, like a car.
 16· ·Q.Okay.                                                   16· ·ATTORNEY BRAIS:
 17· ·A.My brother stopped taking care of it.· So he            17· ·I think the witness said, and the court
 18· ·basically just abandoned it and told everybody ---.       18· ·reporter correct me, driving is a huge one?
 19· ·Q.He being, in that case, your dad?                       19· ·COURT REPORTER:
 20· ·A.My dad.· My dad just abandoned it and said if           20· ·Yes.
 21· ·there was --- if anybody wanted anything, come take it,   21· ·ATTORNEY BRAIS:
 22· ·that he wasn’t going to be doing anything.                22· ·Driving is a huge one.· The court
 23· ·Q.Well, before this incident, when he gardened like       23· ·reporter just confirmed.
 24· ·this, what would he do with all the, you know, tomatoes   24· ·ATTORNEY SCARRY:
 25· ·or carrots or whatever it was?                            25· ·Okay.· Thank you.

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 ·1· ·BY ATTORNEY BRAIS:                                         ·1· ·he walk on his own?
 ·2· ·Q.Now, do you know if any doctor has said that your        ·2· ·A.Yes.
 ·3· ·dad cannot drive?· And I’m talking obviously since this    ·3· ·Q.Does he ever use any sort of assistive device?
 ·4· ·--- the incident aboard the Carnival cruise ship.          ·4· ·You know what I mean by that?
 ·5· ·A.At --- I believe not long after it first happened.       ·5· ·A.Yes.
 ·6· ·And I don’t recollect what doctor it was.· They said at    ·6· ·He uses a cane most of the time.· There are
 ·7· ·the time, they didn’t recommend that he drove.             ·7· ·instances where he doesn’t use it because his physical
 ·8· ·Q.Did you learn at any time later that that might          ·8· ·therapist told him that.
 ·9· ·have changed?                                              ·9· ·Q.He should try not to use it on his own?
 10· ·A.Yes.                                                     10· ·A.That if he is feeling well that day, he should try
 11· ·Q.And even though that changed and there was no            11· ·to walk on his own.
 12· ·longer the restriction, did your dad --- did your dad      12· ·And when we go into a grocery store, most of the
 13· ·want to drive after that?                                  13· ·time he’ll use like a shopping cart, like one that you
 14· ·A.I believe he wants to drive, but he is afraid to         14· ·push, not a basket cart.
 15· ·drive.                                                     15· ·Q.The kind of a shopping cart where you can put your
 16· ·Q.Has he ever told you why he’s --- even if he wants       16· ·hands out in front of you and hold onto something?
 17· ·to and even if a doctor has said it’s okay, why he         17· ·A.Correct.
 18· ·doesn’t drive himself?                                     18· ·Q.Okay.· All right.
 19· ·A.Yes.· Because he said with his --- like he gets          19· ·Was there anything else that you have thought of
 20· ·lightheaded or dizzy.· He said he’s afraid he’s going      20· ·about, you know, what he no longer does or doesn’t do
 21· ·to hurt himself or somebody else.· He’s afraid to          21· ·as often?
 22· ·drive.                                                     22· ·A.Yes.· He used to visit with my grandma.· Like, in
 23· ·Q.Now, since this January of 2018 incident, and what       23· ·the month of so leading up the accident, he would go up
 24· ·you’ve described as what we’ll call his own limitation     24· ·and sit with her.· Or like I said, he would make food
 25· ·for driving, out of concern for his own well-being or      25· ·and take it up to her and eat lunch there with her or
                                                       Page 27                                                        Page 29
 ·1· ·others, who has been driving him to wherever for           ·1· ·go to bingo where they have different activities.
 ·2· ·whatever?                                                  ·2· ·And now he only goes up if one of us drive him.
 ·3· ·A.I would say ---                                          ·3· ·And he only goes up if we’re taking her somewhere.· He
 ·4· ·ATTORNEY SCARRY:                                           ·4· ·doesn’t just go up to sit and visit.
 ·5· ·Objection to form.                                         ·5· ·Q.To spend time?
 ·6· ·THE WITNESS:                                               ·6· ·A.Correct.
 ·7· ·--- I drive mostly.· If I had to put like                  ·7· ·Q.Anything else?
 ·8· ·a numerical value, I’d say probably like 90 to 95          ·8· ·A.Yes.· And he used to maintain his yard and the
 ·9· ·percent of the time.                                       ·9· ·neighbor’s yard solely on his own.· He has like a
 10· ·BY ATTORNEY BRAIS:                                         10· ·riding mower, a snow blower.· And he would take care of
 11· ·Q.And when you say you drive, where are the places         11· ·his yard and some of the neighbor’s yard.
 12· ·that you take him?                                         12· ·And now he occasionally riding mows himself.· And
 13· ·A.I have to take him to doctors’ appointments, any         13· ·that’s, to the best of my knowledge, if someone is
 14· ·type of test that he has to have, to the grocery store,    14· ·there with him, like my brother or me or my husband.
 15· ·other stores, like non-grocery-type items, like a          15· ·And my brother takes care of everything else.· And
 16· ·Walmart or the mall.· Sometimes I’ll call him just to      16· ·now he only takes care of his own property, not the
 17· ·get him out of the house and ask him if he wants to go     17· ·neighbor’s like he used to.
 18· ·to lunch.                                                  18· ·Q.Anything else?
 19· ·Basically he’s completely dependent on me and my           19· ·A.Not that I can think of.
 20· ·brother.                                                   20· ·Q.So would --- that list that you’ve just told us
 21· ·Q.Your brother Eric, Jr.?                                  21· ·about, what does your dad spend his time doing now when
 22· ·A.Correct.                                                 22· ·he’s not going to a doctor’s appointment or not being
 23· ·Q.When he goes to these various places, you know,          23· ·cared for by some sort of a doctor or ---?
 24· ·you said Walmart or the mall or the grocery store or       24· ·A.He doesn’t do much of anything.· He lays in bed
 25· ·doctors’ appointments, is he --- is he ambulatory?· Can    25· ·and watches TV.


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 ·1· ·Q.Have you ever talked to your dad about how he           ·1· ·health before he went on the cruise with your uncle and
 ·2· ·feels about what’s happened to him?                       ·2· ·his family in January 2018?
 ·3· ·A.Yes, I have.                                            ·3· ·A.I would describe it as mostly controlled.· He had
 ·4· ·Q.What has he told you?                                   ·4· ·pain from a surgery, but it was being controlled, so it
 ·5· ·A.He says that it has ruined his life, and that he        ·5· ·didn’t --- I’m sorry.· I’m trying to like think of the
 ·6· ·feels very strongly that he is going to end up in some    ·6· ·word that I’m trying to say.
 ·7· ·type of assisted living himself because he said he        ·7· ·It didn’t seem to impair his quality of life.
 ·8· ·can’t take care of himself.                               ·8· ·Q.And did your grandmother continue to live at the
 ·9· ·ATTORNEY BRAIS:                                           ·9· ·home with your father up until the end part of 2017?
 10· ·I don’t have anything more at this time.                  10· ·A.Yes.· And she went into the nursing home at the
 11· · · · · · · · · · · · · · ---                              11· ·end of 2017.
 12· · · · · · · · · · · · EXAMINATION                          12· ·Q.Would I be correct that up to that point where she
 13· · · · · · · · · · · · · · ---                              13· ·went into the nursing home, she and your father both
 14· ·BY ATTORNEY SCARRY:                                       14· ·resided in that house?
 15· ·Q.Good afternoon, Ms. Lohr.                               15· ·A.Yes.
 16· ·Are you able to hear me okay?                             16· ·Q.My understanding is that your father and your
 17· ·A.Yes, I can.                                             17· ·uncle have --- no longer have a relationship with each
 18· ·Q.Hi.· My name is Brian Scarry.· I represent              18· ·other.
 19· ·Carnival, and I’ll be asking you questions at this        19· ·Is that your understanding?
 20· ·time.                                                     20· ·A.That’s correct.
 21· ·Okay?                                                     21· ·Q.You used the word controlled to describe your
 22· ·A.Okay.                                                   22· ·father’s health condition before he went on this
 23· ·Q.If for any reason you don’t hear me clearly or if       23· ·cruise.
 24· ·my question’s not clear, let me know and I’ll do my       24· ·Do you know what types of medication --- and when
 25· ·best to rephrase it.                                      25· ·I say type, I don’t mean the name.· What I’m getting at
                                                      Page 31                                                         Page 33
 ·1· ·Okay?                                                     ·1· ·is, do you know what the medication he was taking, what
 ·2· ·A.Okay.                                                   ·2· ·they were prescribed to him for, before the January
 ·3· ·Q.How old are you, Ms. Lohr?                              ·3· ·cruise?
 ·4· ·A.Twenty-seven (27).                                      ·4· ·A.Some of them, I do.· Not all.· Prior to the
 ·5· ·Q.And you said you live in St. Michaels or the City       ·5· ·accident, I’m not aware of all of his medications.· But
 ·6· ·of St. Michaels?                                          ·6· ·some, yes.
 ·7· ·A.Yes.· And it’s Michael with no S.                       ·7· ·Q.Which ones are you aware of?
 ·8· ·Q.Michael.                                                ·8· ·ATTORNEY BRAIS:
 ·9· ·How far is St. Michael from your dad’s home in            ·9· ·When?· When, Brian?
 10· ·Jerome?                                                   10· ·ATTORNEY SCARRY:
 11· ·A.That would be a two-part question, because here in      11· ·Before January 2018.
 12· ·Pennsylvania, it would depend on the time of year.        12· ·BY ATTORNEY SCARRY:
 13· ·Right now in the summertime, probably 25 to 30 minutes.   13· ·Q.Ms. Lohr, what medications were you aware of that
 14· ·In the wintertime, it could be up --- longer, like 45     14· ·your father was taking on a regular basis?
 15· ·minutes.                                                  15· ·A.I believe then he was taking insulin.· He was
 16· ·Q.Is that because of all the snow?                        16· ·taking medicine for his acid reflux and his pain
 17· ·A.Yes.                                                    17· ·medicine from the failed surgery.
 18· ·ATTORNEY BRAIS:                                           18· ·Q.As the failed surgery, are you referring to a
 19· ·Yeah.· Everything you and I deal with,                    19· ·procedure your father underwent back in about 2005,
 20· ·Brian, in December down in Miami, Florida.                20· ·that involved his chest?
 21· ·ATTORNEY SCARRY:                                          21· ·A.Yes.
 22· ·You know, we had a little rain this                       22· ·Q.And the pain medication that your father was
 23· ·afternoon, but I don’t think that counts.                 23· ·taking, what --- if you could describe them, what ---
 24· ·BY ATTORNEY SCARRY:                                       24· ·were they, for example, over-the-counter Tylenol or
 25· ·Q.Ms. Lohr, how would you describe your father’s          25· ·aspirin or were they at the other end of the spectrum?

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 ·1· ·A.To the best of my knowledge, I believe it was           ·1· ·Is that correct?
 ·2· ·--- I believe he was seeing a pain clinic then.           ·2· ·A.That’s correct, because it’s their policy.
 ·3· ·Q.Would it be your understanding that after the           ·3· ·Q.Meaning it’s the policy of the staff at the pain
 ·4· ·failed surgery, and leading up until the time of this     ·4· ·clinic?
 ·5· ·cruise in January 2018, your father was taking            ·5· ·A.That’s correct.· They said because they deal with
 ·6· ·medically-prescribed medications --- I’m sorry,           ·6· ·narcotics, only the patient can come in.
 ·7· ·doctor-prescribed medications through this pain clinic?   ·7· ·Q.At the present time, does your father manage
 ·8· ·A.Yes.                                                    ·8· ·taking his own medications on a daily basis?
 ·9· ·Q.To your knowledge, does your father continue to         ·9· ·A.I believe so.
 10· ·take physician-prescribed medication through a pain       10· ·Q.Does anyone else live in the home with him right
 11· ·clinic?                                                   11· ·now?
 12· ·A.Yes.                                                    12· ·A.No.
 13· ·Q.And what’s the name of the facility, if you know,       13· ·Q.Has anyone lived in the home with your father
 14· ·that prescribes his pain medication?                      14· ·since January 2018?
 15· ·A.Off the top of my head, I don’t remember what it’s      15· ·A.No.
 16· ·called.· They don’t have a big sign outside.              16· ·Q.Did I understand your testimony earlier that you
 17· ·Q.Was your father taking narcotic-type prescribed         17· ·take your father to about 95 percent of the doctor
 18· ·pain medication on a daily basis in the year leading up   18· ·appointments and your brother drives maybe the other
 19· ·to that cruise in January 2018?                           19· ·five percent?
 20· ·A.To the best of my knowledge.                            20· ·A.That’s correct.
 21· ·Q.Is that a yes?                                          21· ·Q.To your knowledge, does your father see any type
 22· ·A.Yeah, to the best of my knowledge.· We didn’t           22· ·of a counselor, a psychologist or a psychiatrist for
 23· ·really talk about it a whole lot before the accident.     23· ·symptoms of depression?
 24· ·Q.And now that you do driving for him for medical         24· ·A.Not that I’m aware of.
 25· ·appointments, do you periodically take him for his        25· ·Q.Are you aware of an incident that occurred in
                                                      Page 35                                                        Page 37
 ·1· ·appointments at this pain clinic?                         ·1· ·April of 2019, where your father went to the Conemaugh
 ·2· ·A.Yes.                                                    ·2· ·Hospital and was in the intensive care unit for several
 ·3· ·Q.Now, do you actually --- I want to ask the              ·3· ·days?
 ·4· ·question carefully.                                       ·4· ·A.Yes.
 ·5· ·When you take your father to a medical                    ·5· ·Q.Did you drive your father to that hospital or was
 ·6· ·appointment, do you actually sit in with the doctor and   ·6· ·he transported by paramedics or some other person?
 ·7· ·participate with the discussion with the doctor or do     ·7· ·A.I called an ambulance.
 ·8· ·you bring your father and then he attends the             ·8· ·Q.Were you in the home with him when the call to the
 ·9· ·appointment with the doctor alone?                        ·9· ·ambulance was made?
 10· ·A.I go to every appointment into the office except        10· ·A.Yes.
 11· ·the pain clinic.                                          11· ·Q.What were the circumstances that played out
 12· ·Q.So if I understand you correctly, if your father        12· ·leading up to you calling the paramedics?
 13· ·is seeing a doctor about his hypertension or his          13· ·A.I had not heard from him in a couple days.· So I
 14· ·diabetes, you’ll actually sit in one on one with the      14· ·drove to his house to check on him.· And when I got
 15· ·doctor?                                                   15· ·there, he was very sick.
 16· ·A.One on one on one.· Me and my dad and the doctor,       16· ·And I called my brother, who lives very close to
 17· ·yes.                                                      17· ·my dad, and he came over and he said he didn’t know
 18· ·Q.I apologize.                                            18· ·what was wrong.
 19· ·What I meant is you’ll be in the room when the            19· ·And at that time I called 911 and I met them at
 20· ·interaction with the doctor is taking place?              20· ·the hospital.
 21· ·A.Yes, that’s correct.                                    21· ·Q.This is the Conemaugh Hospital?
 22· ·Q.And again, if I understand you correctly, when you      22· ·A.Conemaugh (corrects pronunciation) Hospital,
 23· ·take your father to the pain clinic, your father goes     23· ·correct.
 24· ·in to see the doctor alone and you do not sit in with     24· ·Q.Conemaugh.· Okay.
 25· ·him.                                                      25· ·Do you know or have an understanding of what his

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 ·1· ·ailment was that required the hospitalization?            ·1· ·Q.Did she have a propensity to fall before the
 ·2· ·A.Yes.                                                    ·2· ·cruise that she went on with your dad in the later part
 ·3· ·Q.What is it or what was it?                              ·3· ·of 2017?
 ·4· ·A.Diabetic ketoacidosis.                                  ·4· ·A.Yes.
 ·5· ·ATTORNEY BRAIS:                                           ·5· ·Q.Were you ever present when she fell in the home?
 ·6· ·Form.· Move to strike.                                    ·6· ·A.Yes.
 ·7· ·BY ATTORNEY SCARRY:                                       ·7· ·Q.On how many occasions?
 ·8· ·Q.Leading up to that point, did your father require       ·8· ·A.I’m not sure.
 ·9· ·any assistance administering his prescriptions for        ·9· ·I lived there for 15 years.
 10· ·insulin?                                                  10· ·Q.And over the course of those 15 years, did she
 11· ·A.Not to the best of my knowledge.                        11· ·have a tendency to fall during that whole period or did
 12· ·Q.My understanding is your grandmother is in a            12· ·it get worse as 2017 progressed?
 13· ·nursing home at the present time.                         13· ·A.I wouldn’t say it progressed in 2017.· But it got
 14· ·Is that correct?                                          14· ·a little bit worse because her seizures got worse.
 15· ·A.Yes, it is.                                             15· ·Q.And when you say seizures, what --- are you able
 16· ·Q.And this is --- is this the same facility that          16· ·to describe either medically, if you know, or what they
 17· ·she’d been in since the later part of 2017?               17· ·appear to be?
 18· ·A.Yes.                                                    18· ·A.I believe they are diagnosed as grand mal
 19· ·Q.How frequently do you see your grandmother on           19· ·seizures.· But when she would have them, she would zone
 20· ·average at the present time?                              20· ·out.
 21· ·A.Depending on the week, sometimes I see her three        21· ·Q.And then that’s when her falls would occur?
 22· ·or four times a week.· Other times I may see her once     22· ·A.Sometimes, yes.
 23· ·or twice.                                                 23· ·Q.To your knowledge, does your grandmother continue
 24· ·Q.And how old is your grandmother, may I ask?             24· ·to have grand mal seizures at the nursing facility
 25· ·A.I don’t know off the top of my head.· I would say       25· ·where she is now?
                                                      Page 39                                                        Page 41
 ·1· ·in her late 80s.                                          ·1· ·A.I’m not sure.
 ·2· ·Q.And do you know what it is --- what her medical         ·2· ·Q.Did your grandmother have grand mal seizures in
 ·3· ·diagnosis is that requires her to be in this around-      ·3· ·say 2016 and the first part of 2017?
 ·4· ·the-clock nursing facility?                               ·4· ·A.I don’t recall specific incidents, but I’m sure
 ·5· ·A.Because she fell.                                       ·5· ·she did.
 ·6· ·Q.Does your grandmother, to your knowledge, have          ·6· ·Q.To your knowledge, did her seizure situation
 ·7· ·symptoms of Alzheimer’s disease and/or dementia?          ·7· ·worsen leading toward the end of 2017?
 ·8· ·A.Yes.                                                    ·8· ·A.No.
 ·9· ·Q.Does she know who you are when you visit with her?      ·9· ·Q.It stayed the same?
 10· ·A.Yes.                                                    10· ·A.It seemed.· She was on medication.
 11· ·Q.In addition to symptoms or indications of               11· ·Q.Did you participate in the family decision to have
 12· ·Alzheimer’s or dementia ---?                              12· ·your grandmother stay in the nursing facility?
 13· ·Let me ask this question, Ms. Lohr.· I apologize.         13· ·A.Could you clarify that?
 14· ·Do you know if your grandmother has been medically        14· ·Q.Yes.
 15· ·diagnosed as having Alzheimer’s disease?                  15· ·Obviously, the decision to have a member of your
 16· ·A.I don’t know.                                           16· ·family live in a facility like this is a big one?
 17· ·Q.Does your grandmother, when you visit with her,         17· ·A.Correct.
 18· ·have or give the impression that she has poor memory,     18· ·Q.And so I’m trying to understand, as a member of
 19· ·poor recall, poor recollection of people and              19· ·the family, if you know, what was it about her
 20· ·situations?                                               20· ·condition in late 2017 that led to the family decision
 21· ·A.With some things.                                       21· ·for her to stay in the nursing facility rather than
 22· ·Q.And what is it about her --- either her mental or       22· ·return and live in the home with your father?
 23· ·physical condition that is your understanding as to why   23· ·ATTORNEY BRAIS:
 24· ·she falls?                                                24· ·Hey, Brian, rather than me interrupt you
 25· ·A.Something with her brain.                               25· ·every five seconds, can I have a standing objection as

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 ·1· ·to beyond the scope of the Direct?                        ·1· ·A.That’s how it should be, but that’s not how it is.
 ·2· ·ATTORNEY SCARRY:                                          ·2· ·Q.Do they have activities there, group activities or
 ·3· ·This is a trial deposition, isn’t it?                     ·3· ·individual activities available for her?
 ·4· ·ATTORNEY BRAIS:                                           ·4· ·A.Yes.
 ·5· ·Yeah.· Can I still have a standing                        ·5· ·Q.Would you say that your grandmother’s health
 ·6· ·objection and we’ll let the Court sort it out later?      ·6· ·condition requires her to have access to professional
 ·7· ·ATTORNEY SCARRY:                                          ·7· ·medical attention all the time?
 ·8· ·Okay.· That’s fine.                                       ·8· ·ATTORNEY BRAIS:
 ·9· ·ATTORNEY BRAIS:                                           ·9· ·Form.
 10· ·Thank you.                                                10· ·THE WITNESS:
 11· ·Do you remember what the question was?                    11· ·No.
 12· ·THE WITNESS:                                              12· ·BY ATTORNEY SCARRY:
 13· ·Yes.                                                      13· ·Q.Given your grandmother’s condition now, is there a
 14· ·May I clarify the question first, to make                 14· ·reason why she does not live at your home?
 15· ·sure I’m understanding it correctly?                      15· ·A.Why she doesn’t live with me?
 16· ·BY ATTORNEY SCARRY:                                       16· ·Q.Yes.
 17· ·Q.Of course.                                              17· ·A.Because my house isn’t set up for somebody else to
 18· ·A.There were two --- because there were two separate      18· ·live there.
 19· ·discussions, when she went in originally, and then when   19· ·Q.Have any of the staff at the nursing home facility
 20· ·it was decided that she had to stay.                      20· ·indicated that your grandmother is expected to improve
 21· ·So are you asking about when we put her in to             21· ·in any of her healthcare conditions?
 22· ·LaurelWood initially in 2017?                             22· ·A.Can you clarify that?
 23· ·Q.Yes.· Why don’t we --- let’s start with that            23· ·Q.Yes.· Let me start it from a different angle.
 24· ·piece.                                                    24· ·In the time that your grandmother’s been at the
 25· ·A.Yes, I was.· And she was going in for physical          25· ·rehabilitation facility, from your perspective, has her
                                                      Page 43                                                        Page 45
 ·1· ·therapy for a few weeks.· They said possibly up to        ·1· ·physical condition gotten better, remained the same or
 ·2· ·eight weeks.                                              ·2· ·gotten worse?
 ·3· ·Q.And then was there a later point where the family       ·3· ·A.Remained the same.
 ·4· ·needed to decide whether she would stay beyond the        ·4· ·ATTORNEY BRAIS:
 ·5· ·eight weeks?                                              ·5· ·Form.· Plus foundation.
 ·6· ·A.Yes.                                                    ·6· ·BY ATTORNEY SCARRY:
 ·7· ·Q.And when did that occur, Ms. Lohr?                      ·7· ·Q.If you were living at your father’s home, do you
 ·8· ·A.Around February or March of 2018.                       ·8· ·feel that you would be able to care for your
 ·9· ·Q.And even with the physical therapy, from your           ·9· ·grandmother and keep her safe?
 10· ·perspective, had your grandmother’s physical condition    10· ·A.Yes.
 11· ·improved?                                                 11· ·Q.And have you ever had to assist getting your
 12· ·A.I don’t know how to answer that.· She was about         12· ·grandmother up off the floor after a fall?
 13· ·the same.                                                 13· ·A.Yes.
 14· ·Q.Okay.                                                   14· ·Q.And is she a frail woman or is she a large woman?
 15· ·Were there healthcare providers that recommended          15· ·A.I would say she’s about 115 pounds.
 16· ·that she remain in the nursing home facility?             16· ·Q.When was the last time you went to a doctor’s
 17· ·A.I’m not sure.                                           17· ·appointment with your father?
 18· ·Q.Was your grandmother in a situation where she had       18· ·A.I’m sorry.· I’m just trying to think.
 19· ·access to either a healthcare professional or a care      19· ·Maybe about a week ago.· But I don’t have an exact
 20· ·professional 24 hours a day while she was in the          20· ·date.
 21· ·nursing home facility she’s in now?                       21· ·Q.Do you remember what type of a doctor or what type
 22· ·A.Like, do you mean like a nurse?                         22· ·of specialty the office had?
 23· ·Q.Yeah.· That there’s either one in her room with         23· ·A.Yes.
 24· ·her or they might have like one of those little cords     24· ·Q.And what was that medical specialty?
 25· ·you could pull and somebody will be there quickly?        25· ·A.I guess it’s called a neurologist, with your

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 ·1· ·brain.                                                     ·1· ·Q.Obviously, you --- and you testified earlier you
 ·2· ·Q.Do you know who the name of the doctor was?              ·2· ·take your dad to --- out of the house and you do
 ·3· ·A.Yes.                                                     ·3· ·various types of shopping.
 ·4· ·Q.What is the doctor’s name?                               ·4· ·To your knowledge, when was the last time he drove
 ·5· ·A.Dr. Sauter.                                              ·5· ·his own car?
 ·6· ·Q.S-A-U-T-E-R?                                             ·6· ·A.If I had to give an estimate, because I don’t have
 ·7· ·A.I believe so.                                            ·7· ·a date, I would say around the June of 2018 time frame,
 ·8· ·Q.And that was last week?                                  ·8· ·give or take.
 ·9· ·A.Approximately.                                           ·9· ·Q.And to your knowledge, up until the June of 2018
 10· ·Q.Okay.                                                    10· ·time frame, was he able to drive himself to the various
 11· ·Do you know why your father and your uncle no              11· ·doctor appointments and the various shopping when he
 12· ·longer communicate with each other?                        12· ·was visiting your grandma?
 13· ·A.Yes.                                                     13· ·A.He was not visiting my grandma as --- well, he may
 14· ·Q.What is your understanding of that?                      14· ·have.· But I don’t believe that he was routinely going
 15· ·A.My understanding from both parties is that my dad        15· ·up there.
 16· ·had an explosion on my uncle when he came to the home.     16· ·And even during that time frame, his driving was
 17· ·Q.Were you present when it happened?                       17· ·very limited.
 18· ·A.No.                                                      18· ·Q.Within your dad’s house, is he able to cook for
 19· ·Q.Other than your dad and your uncle, do you know if       19· ·himself?
 20· ·anyone else was in the home when it happened?              20· ·ATTORNEY BRAIS:
 21· ·A.I don’t believe there was.                               21· ·Now, Brian?
 22· ·Q.And do you know what caused the explosion?               22· ·ATTORNEY SCARRY:
 23· ·A.Are you asking for the reason why my uncle was at        23· ·Yeah.· I meant that now.· I’m sorry.
 24· ·the house?                                                 24· ·THE WITNESS:
 25· ·Q.No.· I’m asking if from talking to your father and       25· ·Are you asking if he does or does he have
                                                       Page 47                                                        Page 49
 ·1· ·your uncle, if you have an understanding of what           ·1· ·like access to a stove?
 ·2· ·transpired between those two men who had been brothers     ·2· ·BY ATTORNEY SCARRY:
 ·3· ·and friends their whole lives?                             ·3· ·Q.I’m asking if he does prepare his own meals in the
 ·4· ·What transpired to cause that to come to such a            ·4· ·house at the present time?
 ·5· ·sudden end?                                                ·5· ·A.Sometimes.· Mostly he eats prepackaged food now.
 ·6· ·A.From my understanding, what had happened was my          ·6· ·Q.Is there a dog in the house?
 ·7· ·uncle came down to discuss my grandma’s care.· And my      ·7· ·A.Yes.
 ·8· ·dad went on to attack, not physically, but verbally        ·8· ·Q.And how long has that dog lived in the house, to
 ·9· ·attack my Uncle Bob, his brother.                          ·9· ·your knowledge?
 10· ·Q.Is it your understanding the two men had a               10· ·A.Maybe eight or nine months.
 11· ·disagreement over how best to handle your grandmother’s    11· ·Q.I have to ask, what’s his name or her name?
 12· ·medical condition and where she would stay?                12· ·A.His name is Mickey.
 13· ·A.I don’t believe that was the conversation at the         13· ·Q.So Mickey --- is Mickey like a nine-month-old
 14· ·time.                                                      14· ·puppy or is Mickey an older dog that was adopted?
 15· ·Q.What is your understanding of what the                   15· ·A.He was adopted.· I believe they estimated him
 16· ·conversation was at the time?                              16· ·between three and five.
 17· ·A.My understanding was not where she was going to          17· ·Q.And has he always --- for this last eight or nine
 18· ·go, because she was going to remain where she was.· But    18· ·months, your dad’s home has been where he lived?
 19· ·it was who was going to care for her at the time.          19· ·A.Yes.
 20· ·Q.Ms. Lohr, do you know if your father has ever had        20· ·Q.And at your dad’s home, is there like a fenced
 21· ·surgery on his lower back?                                 21· ·back yard and Mickey can go out or does your dad walk
 22· ·A.I don’t believe he has.                                  22· ·the dog?
 23· ·Q.Do you know if your dad received medical treatment       23· ·ATTORNEY BRAIS:
 24· ·for pain or problems associated with his lower back?       24· ·If you know.
 25· ·A.Not that I’m aware of.                                   25· ·THE WITNESS:

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 ·1· ·There’s not a fence in the back yard.· He                  ·1· ·apologize --- the Ear, Nose, and Throat Associates of
 ·2· ·has a --- I don’t know what you call them.· A run with     ·2· ·Johnstown?
 ·3· ·a --- like a tether that he can run back and forth on.     ·3· ·A.Yes.
 ·4· ·And he takes him out to go to the bathroom on a leash      ·4· ·THE WITNESS:
 ·5· ·sometimes.                                                 ·5· ·And may I change my answer from earlier?
 ·6· ·BY ATTORNEY SCARRY:                                        ·6· ·ATTORNEY BRAIS:
 ·7· ·Q.When you go to the grocery store now, is your            ·7· ·If you think --- remember I told you in
 ·8· ·father able to walk with the assistance of the shopping    ·8· ·the beginning you could do that.
 ·9· ·cart during the whole shopping trip?                       ·9· ·THE WITNESS:
 10· ·A.Yes.                                                     10· ·Yes.
 11· ·Q.Since the accident, Ms. Lohr, has your father            11· ·And now that you’ve just asked that, he
 12· ·gained or lost any weight?                                 12· ·did see the Ear, Nose and Throat doctor after Dr.
 13· ·A.I believe he’s lost weight.                              13· ·Sauter.· And I did take him to that appointment.· And I
 14· ·ATTORNEY BRAIS:                                            14· ·forgot about that.
 15· ·Move to strike.                                            15· ·BY ATTORNEY SCARRY:
 16· ·BY ATTORNEY SCARRY:                                        16· ·Q.That’s okay.
 17· ·Q.Have you --- I noticed you went through that list        17· ·Has that appointment with Ear, Nose and Throat
 18· ·that you were talking about earlier.· Is that list a       18· ·been within the last week?
 19· ·complete list of the changes that you’ve noticed in        19· ·A.I don’t --- like I said before, I don’t remember
 20· ·your father?                                               20· ·the exact time frame.· I would say a week to a week and
 21· ·A.No.                                                      21· ·a half.
 22· ·Q.Are there any other things that come to mind ---         22· ·Q.Okay.
 23· ·A.Yes.                                                     23· ·And is this an appointment where you actually go
 24· ·Q.--- that you have seen as changes in your father’s       24· ·in with your father and are present with him during the
 25· ·behavior or appearance?                                    25· ·entire time he’s interacting with the doctor and the
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 ·1· ·A.Yes.                                                     ·1· ·medical staff or is this a situation where you bring
 ·2· ·Q.But are these things that are not on the list?           ·2· ·him and wait out in the waiting room?
 ·3· ·A.Yes, they’re more personality-wise, not                  ·3· ·A.No, I was there the entire time.
 ·4· ·activities.                                                ·4· ·Q.Do you recall the name of the doctor that he saw
 ·5· ·Q.What have you noticed by way of your father’s            ·5· ·at this last appointment with the Ear, Nose and Throat
 ·6· ·personality that has changed?                              ·6· ·Associates?
 ·7· ·A.In some ways he’s a lot meaner.                          ·7· ·A.I don’t recall.
 ·8· ·Q.To you or to other people?                               ·8· ·Q.Was the doctor a man or a woman?
 ·9· ·A.In general.· He loses his temper more easily.            ·9· ·A.A woman.
 10· ·Q.Anything else?                                           10· ·Q.Have you been present with your father in the last
 11· ·A.Yes.· He’s very reclusive.                               11· ·six months when he has had a fall?
 12· ·Q.Anything else?                                           12· ·A.Could you clarify fall?
 13· ·A.Yes.· Sometimes he has difficulty that I’ve              13· ·Q.Where he has actually fallen completely to the
 14· ·noticed with like basic math.                              14· ·ground, all the way.
 15· ·Q.And can you give me an example where you’ve              15· ·A.No.
 16· ·noticed him have difficulty with math?                     16· ·Q.Have you been present with your father in the last
 17· ·A.Yes.· If we are at a restaurant and he is trying         17· ·six months where he has come close to falling or
 18· ·to figure out the tip, he will either, A, have             18· ·perhaps lost his balance and then caught himself before
 19· ·difficulty figuring out what the tip would be, or he’ll    19· ·he fell?
 20· ·have to ask me with what he put down money-wise what       20· ·A.Yes.
 21· ·would be left over for the tip, as in asking if he         21· ·Q.On how many occasions?
 22· ·would need to leave more.                                  22· ·A.I don’t know that I could come up with a number.
 23· ·Q.Okay.                                                    23· ·Q.Is it more than three or four?
 24· ·Have you been with your father recently to the             24· ·A.Yes.
 25· ·medical facility that’s called --- let me get this, I      25· ·Q.And on these occasions, where have these episodes

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 ·1· ·occurred?                                                  ·1· ·A.Not that I can remember, no.
 ·2· ·A.There’s not a set place.                                 ·2· ·Q.Have you yourself ever driven your dad to one of
 ·3· ·Q.For example, have you ever been at the grocery           ·3· ·the VA clinics, either in Pittsburgh or Altoona?
 ·4· ·store where that may have happened or the kitchen at       ·4· ·A.Yes.
 ·5· ·the house?· That’s what I’m driving at.                    ·5· ·Q.When was the last time you went to one of the VA
 ·6· ·A.Yes.· It has happened in public, at restaurants,         ·6· ·clinics with your dad?
 ·7· ·in his home.                                               ·7· ·A.I believe it was in August.
 ·8· ·Q.Other than the time that you called 911, when your       ·8· ·Q.And what was the reason for that particular
 ·9· ·father had the --- I think it’s called ketoacidosis?       ·9· ·appointment in August?
 10· ·A.Yeah.                                                    10· ·A.He was seeing his endocrinologist.
 11· ·Q.That’s a tough one.· Sorry.                              11· ·Q.Does your dad get all of his diabetes treatment
 12· ·Other than that episode where you had to call 911          12· ·through one of the VA clinics?
 13· ·for that, have you ever had to call 911 on any other       13· ·A.I believe so.
 14· ·occasion for your father?                                  14· ·Q.And how long has your father been taking insulin
 15· ·A.Since the accident?                                      15· ·and seeing doctors about controlling his diabetes?
 16· ·Q.Yes.                                                     16· ·A.I don’t know.
 17· ·A.No.                                                      17· ·Q.Is it more than ten years?
 18· ·Q.Am I correct that you drove over to your father’s        18· ·ATTORNEY BRAIS:
 19· ·house because you hadn’t heard from him for a couple of    19· ·Asked and answered.
 20· ·days and he was, I guess, in the process of this           20· ·THE WITNESS:
 21· ·ketoacidosis episode when you found him?                   21· ·I don’t know.· I don’t believe so.
 22· ·A.Yes.                                                     22· ·BY ATTORNEY SCARRY:
 23· ·ATTORNEY BRAIS:                                            23· ·Q.Are you aware of any other doctors who treat your
 24· ·Brian, just curious.· Do you have any                      24· ·dad for his diabetes?
 25· ·idea how much more?                                        25· ·A.I don’t believe so.
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 ·1· ·ATTORNEY SCARRY:                                           ·1· ·Q.Do you go with your father to --- and I know here
 ·2· ·I don’t, Keith.· But not too much more.                    ·2· ·in Florida we have a lot of places where the pharmacy
 ·3· ·BY ATTORNEY SCARRY:                                        ·3· ·is in the grocery store.
 ·4· ·Q.When you’re in the house with your father, does he       ·4· ·Do you accompany your dad when he picks up his
 ·5· ·use the cane that you described earlier?                   ·5· ·medications?
 ·6· ·A.Sometimes, yes.· He also has a walker that he uses       ·6· ·A.Not always.
 ·7· ·sometimes as well.                                         ·7· ·Q.How else does your father obtain the prescription
 ·8· ·Q.Is this a walker that was prescribed by one of the       ·8· ·medications that he presently takes?
 ·9· ·doctors he’s seeing now?                                   ·9· ·A.Either my brother will take him to the pharmacy,
 10· ·A.I’m not sure.                                            10· ·and I believe he may get some in the mail.
 11· ·Q.Ms. Lohr, before this cruise in January of 2018,         11· ·Q.The medications prescribed by the pain clinic, do
 12· ·were you ever present when your father complained of       12· ·they dispense them there or, to your knowledge, do they
 13· ·having blurred vision?                                     13· ·pick --- does he pick them up at the pharmacy or by
 14· ·A.Not to me he never did.                                  14· ·mail?
 15· ·Q.Are you aware of him ever making complaints of           15· ·A.He has to pick them up at the pharmacy.
 16· ·blurred vision that he experienced before the cruise       16· ·Q.And did you have any knowledge as to the type of
 17· ·when the accident happened?                                17· ·doses of pain medication that your father takes now
 18· ·A.Not that I’m aware of.                                   18· ·compared to before the January 2018 cruise?
 19· ·Q.Are you aware of your father ever making a               19· ·A.No.
 20· ·complaint to you or anyone else before the January 2018    20· ·Q.Do you have any knowledge one way or the other
 21· ·cruise of having white spots in his field of vision?       21· ·about what his prescription medication regimen is now
 22· ·A.Not to my knowledge.                                     22· ·compared to say a year ago?
 23· ·Q.And are you aware of your father ever making             23· ·A.I only know what they have added new, just because
 24· ·complaints of experiencing dizziness before the cruise     24· ·the doctors have said I’m adding this new.
 25· ·he took in January 2018?                                   25· ·Q.To your knowledge, what are new medications that

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 ·1· ·your father is taking?                                     ·1· ·COMMONWEALTH OF PENNSYLVANIA· )

 ·2· ·A.For migraines.                                           ·2· ·COUNTY OF CAMBRIA· · · · · · ·)

 ·3· ·Q.Okay.                                                    ·3· · · · · · · · · · · · CERTIFICATE

 ·4· ·Is that all, for migraines?                                ·4· ·I, Michael G. Sargent, a Certified Verbatim

 ·5· ·A.I’m not sure what the other medicine is that the         ·5· ·Reporter and Notary Public in and for the Commonwealth

 ·6· ·neurologist prescribed when we were there.                 ·6· ·of Pennsylvania, do hereby certify:

 ·7· ·Q.This would be Dr. Sauter?                                ·7· ·That the witness, Amanda Lohr, whose testimony

 ·8· ·A.Yes.                                                     ·8· ·appears in the foregoing deposition, was duly sworn by

 ·9· ·Q.Is your dad presently doing any type of physical         ·9· ·me on 10/02/2019 and that the transcribed deposition of

 10· ·therapy on a regular basis that is overseen by a           10· ·said witness is a true record of the testimony given by

 11· ·professional, as opposed to him doing exercises in his     11· ·said witness;

 12· ·house?                                                     12· ·That the proceeding is herein recorded fully

 13· ·A.Not anymore.                                             13· ·and accurately;

 14· ·Q.When did he stop doing supervised physical               14· ·That I am neither attorney nor counsel for, nor

 15· ·therapy?                                                   15· ·related to any of the parties to the action in which

 16· ·A.When he went into the hospital.                          16· ·these depositions were taken, and further that I am not

 17· ·Q.When he had --- when he had the episode of --- I         17· ·a relative of any attorney or counsel employed by the

 18· ·can’t pronounce it.                                        18· ·parties hereto, or financially interested in this

 19· ·A.Ketoacidosis.                                            19· ·action.

 20· ·Q.Yes.                                                     20· ·Dated the 19th day of October, 2019

 21· ·So just to be clear, he was doing physical therapy         21

 22· ·before he was hospitalized in April for his                22· · · · · · · · · · · · · ________________

 23· ·ketoacidosis and since then he hasn’t done any therapy?    23· · · · · · · · · · · · · Michael G. Sargent,

 24· ·A.To the best of my knowledge, yes.                        24· · · · · · · · · · · · ·Certified Verbatim Reporter

 25· ·Q.Have you noted any change in your father’s               25

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 ·1· ·physical condition or his personality?· Have you
 ·2· ·noticed any changes when you compare him before the
 ·3· ·episode of the ketoacidosis compared to after?
 ·4· ·A.No.
 ·5· ·ATTORNEY SCARRY:
 ·6· ·Ms. Lohr, thank you very much.
 ·7· ·THE WITNESS:
 ·8· ·You’re welcome.
 ·9· ·ATTORNEY SCARRY:
 10· ·I do not have anything further at this
 11· ·time.
 12· ·ATTORNEY BRAIS:
 13· ·Nothing more from my side as well.
 14· ·VIDEOGRAPHER:
 15· ·Okay.
 16· ·This ends the deposition.· The time is
 17· ·2:56 p.m.
 18· · · · · · · · · · · * * * * * * * *
 19· · · · VIDEOTAPED DEPOSITION CONCLUDED AT 2:56 P.M.
 20· · · · · · · · · · · * * * * * * * *
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